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               EXHIBIT 9
                    Errata Sheet: Lisa Wise
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Errata Sheet: Lisa Wise (9/11‐9/12/2023) (Trial Days 1 and 2)

 Page and Line                                  Current                                      Change To
 54:3                                           UNIDENTIFIED FEMALE SPEAKER                  MISS HARTNETT
 165:24                                         canvas                                       canvass
 166:23                                         express vote                                 ExpressVote
 171:3                                          Puebla                                       Pueblo
 171:6                                          Tiqua                                        Tigua
 171:10                                         Tiqua                                        Tigua
 171: 15                                        Tiqua                                        Tigua
 171:17                                         Tiqua                                        Tigua
 177: 21                                        roll                                         scroll
 178: 8                                         roll                                         scroll
 179: 2‐3                                       before 2022 of November                      before November of 2022
 179: 6                                         canvasers                                    canvassers
 191: 6                                         free moment. I don’t believe that free       free movement. I don’t believe that free
                                                moment                                       movement
 197:20‐21                                      and voters all there                         and all the voters there
 202:13                                         Team                                         TEAM
 202: 14                                        Team                                         TEAM
 202:15                                         Team                                         TEAM
 202: 19                                        Team                                         TEAM
 203:6                                          Team                                         TEAM
 203:14                                         Team                                         TEAM
 203:23                                         Team                                         TEAM
 203:25                                         Team                                         TEAM
 204:2                                          Teams                                        TEAM
 204:4                                          Teams                                        TEAM
 205:1                                          Team                                         TEAM
 205:10                                         Teams                                        TEAM
 206:10                                         Team                                         TEAM
 206:13                                         Team                                         TEAM
 221:16                                         Team                                         TEAM


                                                                      1
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221:18                    Team                                          TEAM
221:19                    Team                                          TEAM
221:24                    Team                                          TEAM
222:21                    Team                                          TEAM
223:5                     Teams                                         TEAM
223:19                    Team                                          TEAM
223:25                    Teams                                         TEAM
224:3                     Teams                                         TEAM
259:18                    vise                                          vice
274: 18                   MR. WASSDORF                                  MISS PERALES
319:6                     for military and overseas                     for military and overseas voters
321: 3                    response for the March election.              response to the March election.
355:12                    Election                                      Elections
360: 10                   it wasn’t SOS training                        it was SOS training
367: 19                   MR. WASSDORF                                  MISS PERALES




                                               2
